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                                               30376
                                   CAUSE NO.

 WAYNE PITTMAN                                                  IN THE DISTRICT COURT OF
            Plaintiff

 VS.                                                            BURLESON COUNTY, TEXAS

 ROYAL TRUCKING, LLC, CLYDE GAY,
 and WILLIAM JEROME THOMAS
              Defendants                                         rcX      JUDICIAL DISTRICT
                •
                                                   • t              •..                   .   s.

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Plaintiff WAYNE PITTMAN (hereinafter referred to as "Plaintiff"), and file

this Original Petition, Rule 193.7 Notice, and Jury Demand on Defendants ROYAL TRUCKING, LLC,

CLYDE GAY, and WILLIAM JEROME THOMAS (hereinafter "Defendants"), and for cause of action

would respectfully show unto the Court the following:

                              I.       DISCOVERY CONTROL PLAN

        Plaintiff hereby requests that discovery in this case be conducted pursuant to Texas Rule of

Civil Procedure 190.3 (Level 2). Plaintiff hereby requests that the Court issue a Docket Control Order

in accordance with a Level I discovery plan.

                                     II.     CLAIM FOR RELIEF

        In accordance with Rule 47 of the Texas Rules of Civil Procedure, this is a claim for monetary

relief of more than $1,000,000, excluding interest, statutory or punitive damages and penalties, and

attorney fees and costs.

                                            III.     PARTIES

       Plaintiff WAYNE PITTMAN is a resident of Washington County, Brenham, Texas,

       Defendant, ROYAL TRUCKING, LLC (hereinafter "Royal Trucking"), is a Foreign Limited

Liability Company located at 2279 Stonewall Frierson Rd., Frierson, Louisiana 71027. Defendant

ROYAL TRUCKING, LLC may be served with process by serving William Jerome Thomas at his place
                                                                                 Filed 5/20/2021 9:31 AM
                                                                                                    Dana Fritsche
                                                                                                    District Clerk
                                                    EXHIBIT @                             Burleson County, Texas
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 of residence, 2314 Stonewall Frierson Rd., Frierson, Louisiana 71027, or wherever lie may be found

         Defendant CLYDE GAY is a resident of Red River Parish, Coushatta, Louisiana. Defendant

 can be served with process pursuant to Texas Rules of Civil Procedure 106(a) by delivering to

 Defendant, in person, a true copy of the Citation of this Petition at his place of residence, 827 E. Carroll

 St., Coushatta, Louisiana 71019, or wherever he may be found.

        Defendant WILLIAM JEROME THOMAS is a resident of De Soto Parish, Frierson, Louisiana.

 Defendant can be served with process pursuant to Texas Rules of Civil Procedure 106(a) by delivering

 to Defendant, in person, a true copy of the Citation of this Petition at his place of residence, 2314

 Stonewall Frierson Rd., Frierson, Louisiana 71027, or wherever he may be found.

                                   IV.    JURISDICTION & VENUE

        This Court has jurisdiction over the controversy because the damages to Plaintiff are within the

jurisdictional limits of this Court.

         All or a substantial portion of the acts giving rise to this lawsuit occurred in Burleson County,

  Texas. Therefore, venue is proper pursuant to §15.001 and §15.002(a)(1) of the Texas Civil Practice

  & Remedies code.

       All conditions precedent, if necessary, have occurred.

       Nothing Plaintiff did caused or contributed to this occurrence.

                                              V.         FACTS

       On October 7, 2019, Plaintiff was traveling east on SH 21, and he slowed to turn right on County

Road 105. Defendant Clyde Gay, in the course and scope of his employment with Royal Trucking

and/or William Jerome Thomas, was operating a tractor/trailer, owned by Royal Trucking and/or

William Jerome Thomas, and failed to control his speed and violently struck the trailer and cab of

Plaintiff's tractor trailer. Defendant was negligent for, amongst other things, failing to control his

speed, and colliding with Plaintiff's vehicle. Defendant's actions and/or omissions proximately caused

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the collision made the basis of this lawsuit.

        As a proximate result of the collision, Plaintiff suffered injuries and damages.

        Plaintiff reserves the right to amend and/or supplement as allowed by the Texas Rules of Civil

Procedure.

                                       VI.   CAUSES OF ACTION

A. Negligence

       The above-described collision was proximately caused by the negligence of Defendant in one

or more of the following particulars:

             o   Failing to act as a reasonably prudent driver under the same or similar
                 circumstances;

             o Failing to timely apply the brakes;

             o   Failing to turn the vehicle to avoid the collision;

             o Driving ROYAL TRUCKING/WILLIAM JEROME THOMAS' vehicle
               at a rate of speed greater than that at which an ordinarily prudent person
               would have driven under the same or similar circumstances;

             o Failing to pay attention to the surroundings;

             o Failing to maintain a proper lookout;

             o   Distracted driving;

             o   Using a cell phone while driving;

             o   Failing to control the speed;

             o   Section 545.351(a) of the Texas Transportation Code, which imposes a
                 duty not to operate a motor vehicle at a speed greater than is reasonable
                 and prudent under the circumstances then existing;

             o   Section 545.351(b) of the Texas Transportation Code, which imposes a
                 duty to operate a motor vehicle at a speed that is reasonable and prudent
                 under the conditions and with regard to the actual and potential hazards
                 then existing and at a speed necessary to avoid colliding with another
                 person or vehicle;

             o   Section 545.062(a) of the Texas Transportation Code, which imposes a
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                  duty on the operator of a motor vehicle that is following another vehicle
                  to maintain a safe distance between the two vehicles so that, considering
                  the speed of the vehicles, traffic, and conditions of the highway, the
                  operator can safely stop without colliding with the preceding vehicle or
                  veering into another vehicle, object, or person on or near the highway;
                  and

               o Other act and omissions that may be shown at the time of trial.

       At all times material thereto, Defendant owed a duty of ordinary care consistent with the

foregoing and breached each of these duties. These breaches were both a cause in fact and proximate

cause of Plaintiff's severe injuries. Each of the foregoing acts and/or omissions taken together or

individually constitute negligence and each proximately caused the collision and the injuries and

damages sustained by Plaintiff.

 B. Negligent Entrustment and Negligence of Defendant Royal Trucking and Defendant William
    Jerome Thomas

        ROYAL TRUCKING/WILLIAM JEROME THOMAS was the owner of the large truck and

 ROYAL TRUCKING/WILLIAM JEROME THOMAS entrusted it to Defendant CLYDE GAY.

 Defendant CLYDE GAY was a careless, incompetent, or reckless driver. Defendants ROYAL

 TRUCKING and WILLIAM JEROME THOMAS knew or should have known that he was a

 careless, incompetent, or reckless driver. As described above, Defendant CLYDE GAY was

negligent at the time of the accident that caused Plaintiff's injuries and damages. Defendants ROYAL

TRUCKING and WILLIAM JEROME THOMAS could reasonably have anticipated that entrusting

a vehicle to a careless, incompetent or reckless driver would result in an injury.

        Further, the above described collision was caused by the negligence of Defendants ROYAL

TRUCKING and WILLIAM JEROME THOMAS in one or more of the following particulars:

           o      Failing to act as a reasonably prudent trucking company under the same
                 or similar circumstances;

           o Failing to act as a reasonably prudent management company under the
              same or similar circumstances;

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             o   Failing to properly train its driver;

             o   Failing to properly supervise its driver;

             o   Failing to develop policies and procedures related to driver cellphone use
                 and distracted driving in ROYAL TRUCKING/WILLIAM JEROME
                 THOMAS vehicles;

            o    Failing to implement and monitor policies and procedures related to driver
                 cellphone use and distracted driving in ROYAL TRUCKING/WILLIAM
                 JEROME THOMAS vehicles;

            o    Failing to promote driver compliance with the laws of the State of Texas; and

            o    Other acts and omissions that may be shown at the time of trial.

        Defendants ROYAL TRUCKING and WILLIAM JEROME THOMAS owed a duty of

ordinary care consistent with the foregoing and breached each of these duties. These breaches were

both a cause in fact and proximate cause of Plaintiff's severe injuries. Each of the foregoing acts

and/or omissions taken together or individually constitute negligence and each proximately caused

the collision and the injuries and damages sustained by Plaintiff.

C. Gross Negligence of All Defendants

        Plaintiff re-alleges each of the aforementioned allegations. Further, Plaintiff alleges that all

acts, conduct and omissions on the part of Defendants, taken singularly or in combination, constitute

gross negligence and were the proximate cause of Plaintiff's injuries and damages. Defendants' acts

and/or omissions, when viewed objectively from the Defendants' standpoint at the time such acts

and/or omissions occurred, involved an extreme degree of risk, considering the probability and

magnitude of the potential harm to others. Defendants had actual, subjective awareness of the risk,

but proceeded with conscious indifference to the rights, safety and welfare of Plaintiff. Defendants'

conduct was reckless and/or done with an intentional state of mind. Such gross negligence was a

proximate cause of the occurrence of Plaintiff's injuries and damages.




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                                             VII.   DAMAGES

        As a direct and proximate result of Defendants' negligence, Plaintiff suffered the following

 damages:

                o Past and future physical pain and suffering;

                o   Past and future mental anguish;

                o   Past and future physical impairment;

                o   Past and future reasonable and necessary medical expenses;

                o   Past lost wages;

                o   Future loss of earning capacity;

                o   All actual damages allowed under the law; and

                o   Such other and further relief as the Court may deem just and proper.

                                         VIII. JURY DEMAND

        Plaintiff respectfully demands a trial by jury on all issues.

                                       IX.    RULE 193.7 NOTICE

        Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby gives actual

notice to Defendants that any and all documents produced may be used against Defendants at any

pretrial proceeding and/or at the trial of this matter without the necessity of authenticating the

documents.

         X.      NOTICE OF REQUIRED DISCLOSURES PURSUANT TO RULE 194

       Duty to Disclose. Except as exempted by Rule 194.2(d) or as otherwise agreed by the parties

or ordered by the court, a party must, without awaiting a discovery request, provide to the other parties

the information or material described in Rule 194.2, 194.3, and 194.4.

       Production. If a party does not produce copies of all responsive documents, electronically

stored information, and tangible things with the response, the response must state a reasonable time and

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 method for production of these items. The responding party must produce the items at the time and in

the method stated, unless otherwise agreed by the parties or ordered by the Court, and must provide the

requesting party a reasonable opportunity to inspect them.

                                            XI. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that citation be issued and served

upon Defendants in a form and manner prescribed by law, requiring that Defendants to appear and

answer, and that upon final hearing Plaintiff does have and recover judgment against Defendants, in a

total sum in excess of the minimum jurisdictional limits of this Court, plus pre judgment and post-

judgment interests, all costs of Court, exemplary damages, and all such other and further relief, in law

and in equity, to which Plaintiff may show himself justly entitled.

                                       Respectfully submitted,

                                       LAW OFFICE OF RICHARD L. BARTON, III, PLLC
                                       By:  /s/ Richard "Trey" Barton, III
                                           RICHARD "TREY" BARTON, III
                                           SBN: 24089982
                                           4151 Southwest Freeway, Suite 675
                                           Houston, Texas 77027
                                           (832) 916-2526
                                           Fax: (832) 916-2646
                                           Email: trey@treybartonlaw.com
                                             Attorney for Plaintiff




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        DEFIL-1\01UpP„{, N T S                                                DEFEN           Ifvired On
                                                                                 CC)

 CLERK OF THE COURT                                                              ATTORNEY FOR PLAINTIFF
 DANA FR1TSCHE .                                                                   RICHARD LEE BARTON, III
 205 E. FOX ST. SUITE # 2001                                                     4151 SOUTHWEST FREEWAY
 CALDWELL, TX 77836                                                                      HOUSTON, TX 77027


                                      THE STATE OF TEXAS
 NOTICE TO DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY. IF YOU OR
 YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH THE CLERK WHO ISSUED THIS
 CITATION BY 10:00 A.M. ON THE MONDAY NEXT FOLLOWING THE EXPIRATION OF TWENTY DAYS
 AFTER THE DATE YOU WERE SERVED THIS CITATION AND PETITION, A DEFAULT JUDGMENT MAY
 BE TAKEN AGAINST YOU. IN ADDITION TO FILING A WRITTEN ANSWER WITH THE CLERK, YOU
 MAY BE REQUIRED TO MAKE INITIAL DISCLOSURES TO THE OTHER PARTIES OF THIS SUIT.
 THESE DISCLOSURES, GENERALLY MUST BE MADE NO LATER THAN 30 DAYS AFTER YOU FILE
 YOUR ANSWER WITH THE CLERK. FIND OUT MORE AT TEXASLAWHELP.ORG .".


To Defendant,          WILLIAM JEROME THOMAS CAN BE SERVED AT 2314 STONEWALL
                            FRIERSON RD., FRIERSON, LOUSIANA 71027, OR WHEREVER
                            HE MAY BE FOUND.
Greeting:

          You are hereby commanded to appear by filing a written answer to the PALINTIFF'S ORIGINAL
PETITION RULE 193.7 NOTICE AND JURY DEMAND at or before ten o'clock A.M. of the Monday next
after the expiration of twenty days after the date of service of this citation before the Honorable 21ST JUDICIAL
DISTRICT COURT of Burleson County, at the Courthouse in said County in Caldwell, Texas.
        Said Plaintiff's Petition was filed in said court on the day of 20th day of May, 2021 in this cause, numbered
30376 on the docket of said court, and styled,
                                             PITTMAN, WAYNE
                                                     VS.
                                           ROYAL TRUCKING, LLC
                                                GAY, CLYDE
                                         THOMAS, WILLIAM JEROME


        The nature of Plaintiff's demand is fully shown by a true and correct copy of accompanying this citation
and made a part hereof.
        The officer executing this writ shall promptly serve the same according to the requirements of law, and the
mandates thereof, and make due return as the law directs.
         Issued and given under my hand and seal of said Court at Caldwell, Texas, this 20th day of May, 2021.


                                              Dana Fritsche, Clerk, District Court
                                              Burleson County, Texas


                                                  \ U‘P-L A/A
                                                RAQUEL INA, DEPUTY




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                                            CAUSE NO. 30376

    WAYNE PITTMAN                                  §        IN THE DISTRICT COURT OF
                                                   §
         Plaintiff,                                §
                                                   §
    v.                                             §        BURLESON COUNTY, TEXAS
                                                   §
    ROYAL TRUCKING, LLC, CLYDE                     §
    GAY, and WILLIAM JEROME                        §
    THOMAS                                         §
                                                   §          21ST JUDICIAL DISTRICT
         Defendants.                               §

                DEFENDANTS’ ORIGINAL ANSWER AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Defendants, Royal Trucking, LLC, Clyde Gay, and William Jerome

Thomas (hereinafter “Defendants”), in the above-captioned and numbered cause, and file this, their

Original Answer and Jury Demand, and in support hereof would respectfully show the Court as

follows:

                                       I.     GENERAL DENIAL

         1.1     Pursuant to Rule 92 of the TEXAS RULES OF CIVIL PROCEDURE, Defendants hereby

exercise their legal right to require Plaintiff to prove all of the allegation contained in his pleading,

if Plaintiff can so prove them, which is denied. Accordingly, Defendants denies generally the

allegations in Plaintiff’s Original Petition and any supplement or amendment thereto, and requests

that Plaintiff be required to prove such charges and allegations by a preponderance of the evidence,

in accordance with the Constitution and laws of the State of Texas.

                                 II.        ADDITIONAL DEFENSES

         2.1     For further answer, if such be necessary, Defendants contend that Plaintiff’s claims

for damages may be barred, in whole or in part, by the acts or omissions of Plaintiff, whether under

the doctrine of proportionate responsibility or failure to mitigate damages.
                                                                                             Filed 7/19/2021 8:54 AM
                                                   1                                                    Dana Fritsche
                                                                                                         District Clerk
                                                EXHIBIT @                                    Burleson County, Texas
                                                                                                      By Raquel Pena
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       2.2     For further answer, if such be necessary, Defendants assert all rights, privileges,

and remedies afforded or available to them as Defendants pursuant to Chapter 33 of the TEXAS

CIVIL PRACTICE & REMEDIES CODE, and requests that the trier of fact determine the percentage of

responsibility for causing in any way the harm for which recovery of damages is sought for each

plaintiff, defendants, settling person, and responsible third party. See Tex. Civ. Prac. & Rem. Code

§ 33.001 et seq.

       2.3     For further answer, if such be necessary, Defendants assert their rights under

common law and Chapter 32 and 33 of the TEXAS CIVIL PRACTICE AND REMEDIES CODE to receive

an offset, credit and/or reduction in judgment based on any settlement Plaintiff has made or may

make with any other person or entity (or any other person or entity’s insurer) or for any amounts

of money collected from any other person or entity (or any other person or entity’s insurer) by

settlement, compromise, or agreement, or in payment of partial payment of any judgment entered

in this case. In accordance with Chapter 33 of the TEXAS CIVIL PRACTICE AND REMEDIES CODE,

specifically §33.012, Defendants seek a settlement credit as to all sums paid by any and all settling

parties. Accordingly, If Plaintiff is awarded any amount as damages in this cause, the award must

be reduced by the dollar amount of any and all settlements or by a dollar credit determined by

applying the statutory formula credit set forth in TEXAS CIVIL PRACTICE AND REMEDIES CODE §

33.012.

                                     III.     JURY DEMAND

       3.1      Defendants hereby rely upon Plaintiff’s demand for trial by jury.

                                            IV.     PRAYER

       WHEREFOR, PREMISES CONSIDERED, Defendants, Royal Trucking, LLC, Clyde

Gay, and William Jerome Thomas having fully answered herein, pray that Plaintiff takes nothing

by this suit, that Defendants have judgment for its costs in this proceeding, and that the Court grant

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all such other and further relief, both general or special, in law or in equity, to which Defendants

may show itself to be justly entitled.

                                                 Respectfully submitted,

                                                 THOMPSON, COE, COUSINS & IRONS, L.L.P.


                                                 By: /s/Stephanie M. Krueger
                                                     STEPHANIE M. KRUEGER
                                                     State Bar No. 24078581
                                                     JOSEPH E. DUMAS
                                                     State Bar No. 24100528
                                                     One Riverway, Suite 1400
                                                     Houston, Texas 77056
                                                     Phone: (713) 403-8210
                                                     Fax: (713) 403-8299
                                                     Email: skrueger@thompsoncoe.com
                                                     Email: jdumas@thompsoncoe.com

                                                     ATTORNEYS FOR DEFENDANTS,
                                                     ROYAL TRUCKING LLC, CLYDE
                                                     GAY, and WILLIAM JEROME
                                                     THOMAS

                                 CERTIFICATE OF SERVICE

      THIS IS TO CERTIFY that on July 16, 2021, a true and correct copy of the foregoing
document was served on all counsel of record in accordance with the TEXAS RULES OF CIVIL
PROCEDURE.

Via E-file:

 LAW OFFICE OF RICHARD L. BARTON, III, PLLC
 Richard “Trey” Barton, III
 State Bar No. 24089982
 4151 Southwest Freeway, Suite 675
 Houston, Texas 77027
 Ph: (832) 916-2526
 Fax: (832) 916-2626
 Email: trey@treybartonlaw.com
 Attorneys for Plaintiffs


                                              /s/Stephanie M. Krueger
                                              STEPHANIE M. KRUEGER

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